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                      IN THE UNITED STATES DISTRICT COURT

                   FOR THE WESTERN DISTRICT OF WISCONSIN

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UNITED STATES OF AMERICA,
                                                                   ORDER
                             Plaintiff,
                                                                   09-cr-147-bbc
              v.

SCORPIO M. ROBINSON,

                             Defendant.

- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

       Defendant Scorpio M. Robinson, through counsel, has filed a notice of appeal. He

has not paid the fee for filing an appeal. Although defendant retained counsel to represent

him in this court, I am satisfied from my review of the information in the presentence report

that he is financially unable to pay the costs of his appeal or to retain counsel for his appeal.

He is financially eligible for the appointment of counsel. I will send the Court of Appeals

for the Seventh Circuit a copy of this order so that it may appoint appellate counsel for

defendant.


       Entered this 10th day of May, 2010.

                                            BY THE COURT:
                                            /s/
                                            BARBARA B. CRABB
                                            District Judge




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